       Case 3:13-cr-00534-PAD               Document 3479            Filed 07/01/15         Page 1 of 6



                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,
                                                                  CRIMINAL NO. 13-534 (CCC)
            v.
 YAIMIR HERNANDEZ-CARABALLO [99],
            Defendant.


                 MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                      RE: RULE 11(c)(1)(B) GUILTY PLEA HEARING
 I.         Procedural Background
            On August 15, 2013, defendant Yaimir Hernandez-Caraballo was charged in a multi-count
 indictment. She agrees to plead guilty to Count One.
            Count One charges that Ms. Hernandez, and others, from on or about 2005 to the return of
 the indictment, did knowingly and intentionally conspire to possess with the intent to distribute in
 excess of 280 grams of cocaine base, in excess of one kilogram of heroin, in excess of five
 kilograms or more of cocaine, and in excess of 100 kilograms of marijuana, within 1000 feet of a
 protected location, in violation of Title 21, United States Code, Sections 841(a)(1), 846, and 860.
            Defendant appeared before me, assisted by the court interpreter, on June 30, 2015, since the
 Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th Cir.
 2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
 defendant). She was advised of the purpose of the hearing and placed under oath with instructions
 that her answers must be truthful lest she would subject herself to possible charges of perjury or
 making a false statement.
 II.        Consent to Proceed Before a Magistrate Judge
            Defendant was provided with a Waiver of Right to Trial by Jury form, which she signed.1
 She confirmed that her attorney explained and translated the form before she signed it. She was


        1
             The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for
Pleading Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made
part of the record.
       Case 3:13-cr-00534-PAD          Document 3479          Filed 07/01/15       Page 2 of 6


USA v. Yaimir Hernandez-Caraballo [99]                                                          Page 2
CR. 13-534 (CCC)
REPORT AND RECOMMENDATION ON GUILTY PLEA

advised of her right to hold all proceedings, including the change of plea hearing, before a district
court judge. She received an explanation of the differences between the scope of jurisdiction and
functions of a district judge and a magistrate judge. She was informed that if she elects to proceed
before a magistrate judge, then the magistrate judge will conduct the hearing and prepare a report
and recommendation, subject to review and approval of the district judge. The defendant then
voluntarily consented to proceed before a magistrate judge.
III.    Proceedings Under Rule 11 of the Federal Rules of Criminal Procedure
        Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States
v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a
defendant who pleads guilty does so with an ‘understanding of the nature of the charge and
consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
McCarthy v. United States, 394 U.S. 459, 467 (1969)). There are three core concerns in a Rule 11
proceeding: 1) absence of coercion; 2) understanding of the charges; and 3) knowledge of the
consequences of the guilty plea. Cotal-Crespo, 47 F.3d at 4 (citing United States v. Allard, 926 F.2d
1237, 1244 (1st Cir. 1991)).
        A.      Competence to Enter a Guilty Plea
        This magistrate judge questioned the defendant about her age, education, employment,
history of any treatment for mental illness or addiction, use of any medication, drugs, or alcohol,
and her understanding of the purpose of the hearing, all in order to ascertain her capacity to
understand, answer and comprehend the change of plea colloquy. The court confirmed that the
defendant received the indictment and fully discussed the charge with her attorney, and was
satisfied with the advice and representation she received.       The court further inquired whether
defendant’s counsel or counsel for the government had any doubt as to her capacity to plead,
receiving answers from both that the defendant was competent to enter a plea. After considering
     Case 3:13-cr-00534-PAD          Document 3479         Filed 07/01/15     Page 3 of 6


USA v. Yaimir Hernandez-Caraballo [99]                                                     Page 3
CR. 13-534 (CCC)
REPORT AND RECOMMENDATION ON GUILTY PLEA

the defendant’s responses, and observing her demeanor, a finding was made that Ms. Hernandez
was competent to plead and fully aware of the purpose of the hearing.
       B.      Maximum Penalties
       Upon questioning, the defendant expressed her understanding of the maximum penalties
prescribed by statute for the offense to which she was pleading guilty, namely a term of
imprisonment of namely a term of imprisonment of not less than ten years and up to life, a fine of
not more than $20,000,000.00, and a supervised release term of not less than ten years. A Special
Monetary Assessment of $100.00 will also be imposed, to be deposited in the Crime Victim Fund,
pursuant to Title 18, United States Code, §3013(a). The court explained the nature of supervised
release and the consequences of revocation. The defendant indicated that she understood the
maximum penalties for Count One and the potential consequences of the guilty plea.
       C.      Plea Agreement
       Ms. Hernandez was shown her “Plea Agreement”, and the “Plea Agreement Supplement”
(together “Plea Agreement”) which are part of the record, and identified her initials on each page
and her signature on both documents. She confirmed that she had the opportunity to read and
discuss the Plea Agreement with her attorney before she signed it, that her attorney explained and
translated it, that it represented the entirety of her understanding with the government, that she
understood its terms, and that no one had made any other or different promises or assurances to
induce her to plead guilty.
       The defendant was then admonished, pursuant to Fed. R. Crim. P. 11(c)(1)(B), and
expressed her understanding, that the terms of the Plea Agreement are merely recommendations to
the court, and that the district judge who will preside over the sentencing hearing can reject the
recommendation without permitting the defendant withdraw her guilty plea, and impose a sentence
that is more severe than the defendant might anticipate.
       The parties’ sentencing calculations and recommendations appear in the Plea Agreement,
and were explained in open court. The defendant confirmed that the plea agreement contains the
     Case 3:13-cr-00534-PAD             Document 3479          Filed 07/01/15       Page 4 of 6


USA v. Yaimir Hernandez-Caraballo [99]                                                           Page 4
CR. 13-534 (CCC)
REPORT AND RECOMMENDATION ON GUILTY PLEA

sentencing recommendations she agreed to with the government. The defendant was specifically
informed that any sentencing calculations contained in the plea agreement were not binding for the
sentencing court, but were only estimates of possible terms of her sentence, and that the court, after
considering the applicable Sentencing Guidelines, could impose a sentence different from any
estimate in the plea agreement or provided by her attorney, and that the court had authority to
impose a sentence that is more severe or less severe than the sentence called for by the Sentencing
Guidelines. The defendant was advised, and understood, that the Sentencing Guidelines are no
longer mandatory and are thus considered advisory, and that during sentencing the court will
consider the sentencing criteria found at 18, United States Code, Section 3553(a).
        The defendant was advised that under some circumstances she or the government may have
the right to appeal the sentence the court imposes. The defendant was further informed, and
professed to understand, that the Plea Agreement contains a waiver of appeal provision under
which the defendant agreed to waive her right to appeal the judgement and sentence if the court
accepts the Plea Agreement and sentences according to its terms, conditions and recommendations.
        D.      Waiver of Constitutional Rights
        The defendant was specifically advised that she has the right to persist in a plea of not guilty,
and if she does so persist that she has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial she would be presumed
innocent and the government would have to prove her guilt beyond a reasonable doubt; that she
would have the right to assistance of counsel for her defense, and if she could not afford an attorney
the court would appoint one to represent her throughout all stages of the proceedings; that at trial
she would have the right to hear and cross examine the government’s witnesses, the right to decline
to testify unless she voluntarily elected to do so, and the right to the issuance of subpoenas or
compulsory process to compel the attendance of witnesses to testify on her behalf. She was further
informed that if she decided not to testify or put on evidence at trial, her failure to do so could not
be used against her, and that at trial the jury must return a unanimous verdict before she could be
      Case 3:13-cr-00534-PAD             Document 3479          Filed 07/01/15       Page 5 of 6


USA v. Yaimir Hernandez-Caraballo [99]                                                             Page 5
CR. 13-534 (CCC)
REPORT AND RECOMMENDATION ON GUILTY PLEA

found guilty.     The defendant specifically acknowledged understanding these rights, and
understanding that by entering a plea of guilty there would be no trial and she will be waiving or
giving up the rights that the court explained.
        The defendant was informed that parole has been abolished and that any sentence of
imprisonment must be served. Defendant was additionally informed that a pre-sentence report
would be prepared and considered by the district judge at sentencing. The court further advised the
defendant that her plea, if accepted, may result in loss of valuable rights, such as the right to vote, the
right to hold public office, the right to serve on a jury, and the right to possess a firearm. The
defendant confirmed that she understood these consequences of her guilty plea.
        E.      Factual Basis for the Guilty Plea
        Defendant was read in open court Count One of the indictment and provided an explanation
of the elements of the offense. The meaning of terms used in the count was explained.
        Upon questioning, the government presented to this magistrate judge and to defendant a
summary of the basis in fact for the offense charged in Count One and the evidence the government
had available to establish, in the event defendant elected to go to trial, the defendant’s guilt beyond
a reasonable doubt. The defendant was able to understand this explanation and agreed with the
government’s submission as to the evidence which could have been presented at trial.
        F.      Voluntariness
        The defendant indicated that she was not being induced to plead guilty, but was entering
such a plea freely and voluntarily because in fact she is guilty, and that no one had threatened her
or offered a thing of value in exchange for her plea. She acknowledged that no one had made any
different or other promises in exchange for her guilty plea, other than the recommendations set forth
in the Plea Agreement. Throughout the hearing the defendant was able to consult with her attorney.
IV.     Conclusion
        The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Count One of the indictment.
     Case 3:13-cr-00534-PAD            Document 3479         Filed 07/01/15       Page 6 of 6

USA v. Yaimir Hernandez-Caraballo [99]                                                          Page 6
CR. 13-534 (CCC)
REPORT AND RECOMMENDATION ON GUILTY PLEA


        After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Yaimir Hernandez-Caraballo,
is competent to enter this guilty plea, is aware of the nature of the offense charged and the
maximum statutory penalties that it carries, understands that the charge is supported by evidence
and a basis in fact, has admitted to the elements of the offense, and has done so in an intelligent and
voluntary manner with full knowledge of the consequences of her guilty plea. Therefore, I
recommend that the court accept the guilty plea and that the defendant be adjudged guilty as to
Count One of the indictment.
        This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within fourteen (14) days of its receipt. Failure to file timely and specific
objections to the report and recommendation is a waiver of the right to review by the district court.
United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
        A sentencing hearing will be set before District Judge Carmen Cerezo.
        IT IS SO RECOMMENDED.
        In San Juan, Puerto Rico, this 30th day of June, 2015.



                                                S/Bruce J. McGiverin
                                                BRUCE J. McGIVERIN
                                                United States Magistrate Judge
